            Case 3:13-cv-05974-MJP Document 146 Filed 07/21/20 Page 1 of 2




1
                                                   THE HONORABLE RONALD B. LEIGHTON
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8                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
9                                       AT TACOMA

10
      THAN ORN, individually, THALISA ORN,
11    individually, J.O. and C.O., by their
      Guardian, CLARISSE ORN,
12                                                    NO. 3:13-CV-05974-RBL
                                     Plaintiffs,
13                                                    ORDER GRANTING PLAINTIFFS’
            vs.                                       MOTION FOR PRIORITY TRIAL DATE
14
      CITY OF TACOMA, a municipal
15    corporation; and KRISTOPHER CLARK, in
      his individual capacity,
16
                                   Defendants.
17                  THIS MATTER having come before the Court upon Plaintiffs’ Motion for
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     Priority Trial Date, and the Court having considered the following:
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            1.      Plaintiffs’ Motion for Priority Trial Date;
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21          2.      Declaration of Thomas B. Vertetis in Support of Plaintiffs’ Motion for Priority

22          Trial Date;

23          3.      City of Tacoma’s Response to Plaintiff’s Motion;
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            4.      Plaintiff’s Reply in Support of Motion; and
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26
      ORDER GRANTING PLAINTIFFS’ MOTION FOR
      PRIORITY TRIAL DATE
                                                                              A Professional Limited Liability Company

      CASE NO. 3:13-cv-05974-RBL                                       911 Pacific Avenue, Suite 200
      1 of 2                                                                Tacoma, WA 98402
                                                                  Phone: (253) 777-0799 Facsimile: (253) 627-0654
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1              5.     The existing record and file in this case.
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               Finding itself fully appraised of the matters raised, and the Court having reviewed the
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     Court file, as well as hearing argument of counsel, the Court finds good cause based on the
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     underlying circumstances of Plaintiff Than Orn’s injuries and the length this matter has been in
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6    litigation to order a priority status trial setting in the event the current trial date is stricken. It is

7    hereby:
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               ORDERED, ADJUDGED, and DECREED that Plaintiffs’ Motion for Priority Civil
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     Trial Date is hereby GRANTED, subject to the criminal docket backlog.
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11             SIGNED this 21st day of July, 2020.

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14
                                                               A
                                                               Ronald B. Leighton
                                                               United States District Judge
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     Presented by:
17
     PFAU COCHRAN VERTETIS AMALA, PLLC
18

19
     By /s/ Thomas B. Vertetis___________________
20   Thomas B. Vertetis, WSBA No. 29805
     tom@pcvalaw.com
21   Attorneys for Plaintiff
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      ORDER GRANTING PLAINTIFFS’ MOTION FOR
      PRIORITY TRIAL DATE
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